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                   IN THE UNITED STATES DISTRICT COURT
                FOR THE EASTERN DISTRICT OF PENNSYLVANIA

   GEORGE GOODRITZ                      : No.
                                        :
                         Plaintiff,     :
           v.                           :
                                        :
   BJP 123-127 OWNER LLC.,              :
                                    and :
   PARK AMERICA INC.                    : COMPLAINT
                                        :
                          Defendants :

                              PRELIMINARY STATEMENT

  George Goodritz (the “Plaintiff”), by and through his counsel, brings this lawsuit against

BJP 123-127 Owner, LLC, and Park America, Inc., seeking all available relief under the

Americans with Disabilities Act for the failure to comply with the Act’s accessibility

requirements. Plaintiff is seeking injunctive relief requiring the Defendants to remove

the accessibility barriers which exist at their parking facility. The allegations contained

herein are based on personal experience of the Plaintiff.
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                                   I. JURISDICTION

1. This action is brought pursuant to the Americans with Disabilities Act of 1990

   (“ADA”), 42 U.S.C. § 12101 et seq.

2. This civil controversy arises under the laws of the United States, and jurisdiction in

   conferred upon this District Court, pursuant to 28 U.S.C. §1331.


                                  II. VENUE

3. All actions complained of herein took place within the jurisdiction of the United States

   District Court for the Eastern District of Pennsylvania.

4. Venue is proper in this judicial District as provided by 28 U.S.C. §1391(b).

                                 III. PARTIES

5. Plaintiff is a 69 year-old adult male who currently resides in Montgomery County, in

   the Commonwealth of Pennsylvania.

6. Plaintiff is a disabled individual.

7. According to the Philadelphia Board of Revision of Taxes, BJP 123-127 Owner, LLC,

   (“Defendant BJP”) is listed as the owner of 123 South 12th Street, Philadelphia,

   Pennsylvania 19107, having a tax account number of 883403000.

8. BJP 123-127 Owner, LLC. (“Defendant BJP”) is a foreign limited liability company

   registered with the Pennsylvania Department of State under entity identification

   number 4284566.

9. Upon information and belief, CT Corporation is the registered agent for Defendant BJP,

   located at 116 Pine Street, Suite 320, Harrisburg, Pennsylvania 17101.

10. Park America, Inc. (“Defendant Park”) is a domestic for-profit corporation registered

   with the Pennsylvania Department of State under entity identification number 912574.
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11. Defendant Park has a business address of 1 Bala Avenue, Suite 500, Bala Cynwyd,

   Pennsylvania 19004.

12. Defendant BJP and Defendant Park are collectively referred to herein as the

   “Defendants.”

                                IV. STATEMENT OF FACTS

The Parking Facility

13. Defendant BJP owns a public parking garage located at 123 South 12th Street,

   Philadelphia, Pennsylvania 19107 (the “Parking Facility”).

14. Upon information and belief, Defendant Park manages the Parking Facility for

   Defendant BJP.

15. The Parking Facility offers parking to the general public.

16. For a fee, an individual can park a vehicle in the Parking Facility at the prevailing

   market rates.

17. The Parking Facility is a parking garage located between Sansom and Moravian Streets

   in Philadelphia, on 12th Street.

18. The Parking Facility has in excess of 100 (one-hundred) parking spaces.

19. The Parking Facility has no handicap-accessible parking spaces.

20. The Parking Facility is a valet-only facility.

21. The sign at the entrance of the Parking Facility has the following bullet points: (See

   Exhibit A)

           a. “Cars must be left with attendant.”

           b. Only attendants will park and deliver cars.”

           c. “Cars must be left with attendant” (repeated)
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22. The Parking Facility entrance 2 (two) lanes, one of which a customer can drive his or

   her vehicle into the garage.

23. Upon driving into the Parking Facility, the customer must temporarily park his or her

   vehicle in the parking lane and wait for a parking attendant.

24. After the customer exits his or her vehicle, the Parking Facility’s parking attendant

   parks the customer’s vehicle.

25. None of the parking lanes in which a customer drives his or her vehicle into contain

   any handicap-accessible passenger loading areas.

26. There are no handicap-accessible parking spaces for a disabled customer to pull into

   while waiting for the parking attendant to valet park the vehicle. (See Exhibit B)

27. There are no handicap-accessible access aisles for disabled individuals to enter or exit

   their vehicle.

The Plaintiff

28. The Plaintiff is a disabled individual within the meaning of the ADA.

29. The Plaintiff has difficulty walking.

30. The Plaintiff possesses a handicap parking placard issued by the Commonwealth of

   Pennsylvania.

31. The Plaintiff’s handicap parking placard permits him to park his vehicle in spaces

   designated as being handicap-accessible.

32. The Plaintiff’s personal vehicle is a 2016 Toyota RAV 4.

33. The Plaintiff travels to Philadelphia frequently, and is often unable to find parking on

   the streets.

34. Plaintiff parks in a parking garage or parking lot when on-street parking is not available.
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35. The Plaintiff has previously patronized the Parking Facility.

36. The Plaintiff would patronize the Parking Facility in the future, but is currently deterred

   because of the lack of any handicap-accessible loading zones.

                   THE AMERICANS WITH DISABILITIES ACT

37. Congress enacted the Americans with Disabilities Act (“ADA”) in 1990 with the

   purpose of providing “[a] clear and comprehensive national mandate for the elimination

   of discrimination against individuals with disabilities” and “[c]lear, strong, consistent,

   enforceable     standards    addressing     discrimination     against   individuals     with

   disabilities.” 42 U.S.C. § 12101(b).

38. The ADA provides a private right of action for injunctive relief to “any person who is

   being subject to discrimination on the basis of disability.” 42 U.S.C. § 12188(a)(1).

39. Under the ADA, a disability is defined as “(A) a physical or mental impairment that

   substantially limits one or more major life activities of such individual; (B) a record of

   such an impairment; or (C) being regarded as having such an impairment.” 42 U.S.C.

   § 12102(1).

40. Title III of the ADA provides that “[n]o individual shall be discriminated against on

   the basis of disability in the full and equal enjoyment of the goods, services, facilities,

   privileges, advantages, or accommodations of any place of public accommodation by

   any person who owns, leases (or leases to), or operates a place of public

   accommodation.” 42 U.S.C. § 12182.

41. “It shall be discriminatory to afford an individual or class of individuals, on the basis

   of a disability or disabilities of such individual or class, directly, or through contractual,

   licensing, or other arrangements with the opportunity to participate in or benefit from
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   a good, service, facility, privilege, advantage, or accommodation that is not equal to

   that afforded to other individuals.” 42 U.S.C. § 12182(b)(1)(A)(ii).

42. A “public accommodation” are private entities whose operations affect commerce. See

   42 U.S.C. § 12181(7).

43. In relevant part, Title III requires that the facilities of a public accommodation be

   “readily accessible to and usable by individuals with disabilities, except where an entity

   can demonstrate that it is structurally impracticable.” 42 U.S.C. § 12183(a)(1).

44. “Readily achievable” means easily accomplishable and able to be carried out without

   much difficulty or expense. 28 C.F.R. § 36.104.

45. Under Title III, places of public accommodation and commercial facilities that are

   newly constructed for occupancy beginning after January 26, 1992, must be “readily

   accessible to and usable by” individuals with disabilities. 28 C.F.R. § 36.401(a) (1).

46. Existing facilities whose construction predates January 26, 1992, must meet the lesser

   “barrier removal standard,” which requires the removal of barriers wherever it is

   “easily accomplishable and able to be done without undue burden or expense.” 28

   C.F.R. § 36.304(a).

47. Discrimination, for purposes of a public accommodation, includes “[a] failure to design

   and construct facilities for first occupancy later than 30 months after July 26, 1990, that

   are readily accessible to and usable by individuals with disabilities” except where an

   entity can demonstrate that it is structurally impracticable to meet the requirements set

   forth by the ADA. 42 U.S.C. § 12183.
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48. Under the ADA, businesses or privately owned facilities that provide goods or services

    to the public have a continuing obligation to remove accessibility barriers in existing

    parking lots when it is readily achievable to do so.

49. The restriping/repainting of the parking space borders in relatively inexpensive, and

    should be readily achievable and easily accomplishable.

Accessible Parking under the ADA

50. The 1991 implementing rules and the 2010 revisions to the ADA set forth the following

    requirements for handicap-accessible parking spaces:1


    Total Number of Parking Spaces Provided                   Minimum Number of Required
              in Parking Facility                              Accessible Parking Spaces

                          1 to 25                                            1
                         26 to 50                                            2
                         51 to 75                                            3
                        76 to 100                                            4
                       101 to 150                                            5
                       151 to 200                                            6
                       201 to 300                                            7
                       301 to 400                                            8
                       401 to 500                                            9
                                                            2% of the total number of parking
                      501 to 1000
                                                                           spaces
                                                          20, plus 1 for each 100 parking spaces
                    More than 1001
                                                                         over 1000

51. The ADA requires that handicap-accessible parking spaces be at least 96 (ninety-six)

    inches wide. See Appendix A to Part 36- Standards for Accessible Design, 28 C.F.R.

    Part 36.2




1
  https://www.ada.gov/regs2010/2010ADAStandards/2010ADAstandards.htm#pgfId-1010282
2
  https://www.access-board.gov/guidelines-and-standards/buildings-and-sites/about-the-ada-standards/ada-
standards/chapter-5-general-site-and-building-elements
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52. The width of a parking space is measured from the center of each parking line bordering

    the parking space.3 (See Exhibit C)

53. The ADA requires that there be an access isle for the handicap-accessible parking space

    that is at least 60 (sixty) inches wide. (See Exhibit C)

54. The 1991 ADA regulations require that one in every eight accessible spaces must be

    van accessible.4

55. The 2010 ADA regulations state that one in every six accessible spaces must be van

    accessible.5

56. The path a person with a disability takes to enter and move through a facility is called

    an "accessible route."6

57. This route, which must be at least three feet wide, must remain accessible and not be

    blocked.7

58. Accessible routes must connect parking spaces to accessible entrances.8

59. “Facility” means all or any portion of buildings, structures, sites, complexes,

    equipment, rolling stock or other conveyances, roads, walks, passageways, parking

    lots, or other real or personal property, including the site where the building, property,

    structure, or equipment is located. 28 C.F.R. § 35.104.




3
  Id.
4
  https://www.ada.gov/regs2010/titleIII_2010/reg3_2010_appendix_b.htm
5
  Id.
6
  http://www.ada.gov/regs2010/titleII_2010/title_ii_primer.html
7
  Id.
8
  https://www.access-board.gov/guidelines-and-standards/buildings-and-sites/about-the-ada-standards/ada-
standards/chapter-5-general-site-and-building-elements
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60. ADA accessibility standards require that accessible parking spaces be located on the

     shortest accessible route from adjacent parking to the accessible entrance of the

     building.9

61. ADA Guidance Standards provide that “[a] "path of travel" includes a continuous,

     unobstructed way of pedestrian passage by means of which the altered area may be

     approached, entered, and exited, and which connects the altered area with an exterior

     approach (including sidewalks, streets, and parking areas), an entrance to the facility,

     and other parts of the facility.”10

62. “An accessible path of travel may consist of walks and sidewalks, curb ramps and other

     interior or exterior pedestrian ramps; clear floor paths through lobbies, corridors,

     rooms, and other improved areas; parking access aisles; elevators and lifts; or a

     combination of these elements.”11

Valet Parking

63. The 1991 Standards of the ADA and the 2010 Standards of the ADA require parking

     facilities that provide valet parking services to have an accessible passenger loading

     zone.12

64. Valet parking facilities must have an accessible passenger loading zone that has an

     access aisle that is a minimum of 60 (sixty) inches wide and extends the full length of

     the vehicle pull-up space. (See Exhibit D)




9
  http://www.ada.gov/adata1.pdf
10
   https://www.ada.gov/regs2010/2010ADAStandards/2010ADAstandards.htm#curbramps
11
   See Id.
12
   https://www.ada.gov/regs2010/titleIII_2010/reg3_2010_appendix_b.htm
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65. The 1991 ADA Standards and the 2010 ADA Standards both require a passenger

     loading zone to have a vehicle pull-up space that is a minimum of 96 (ninety-six) inches

     wide and a minimum of 20 (twenty) feet in length.13 (See Exhibit D)

66. The passenger loading zone must be located on an accessible route to the entrance of

     the facility.14

Signage and the ADA

67. The ADA standards require the use of the International Symbol of Accessibility (ISA)

     to identify parking spaces which are reserved for use by individuals with disabilities.15

     (See Exhibit E)

68. Handicap-accessible parking spaces must be designed as “reserved” by a showing the

     ISA.

69. The ISA must be used to identify accessible passenger loading zones.

70. Directional signage must be used at inaccessible entrances to provide directions to the

     nearest accessible route.

71. Parking space identification signs shall be 60 (sixty) inches minimum above the finish

     floor or ground surface measured to the bottom of the sign.16




13
   https://www.ada.gov/regs2010/titleIII_2010/reg3_2010_appendix_b.htm
14
   https://www.access-board.gov/guidelines-and-standards/buildings-and-sites/about-the-ada-
standards/background/adaag#4.6.6
15
   https://www.access-board.gov/guidelines-and-standards/buildings-and-sites/about-the-ada-
standards/background/adaag#4.1
16
   https://www.access-board.gov/guidelines-and-standards/buildings-and-sites/about-the-ada-standards/ada-
standards/chapter-5-general-site-and-building-elements
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                                        COUNT I –

   FAILURE TO PROVIDE A HANDICAP-ACCESSIBLE ACCESS LANE OR
             HANDICAP-ACCESSIBLE PARKING SPACES

72. All preceding paragraphs are hereby incorporated by reference as if fully set forth

   herein.

73. The Parking Facility is a public accommodation as defined by ADA.

74. The Parking Facility is subject to Title III of the ADA.

75. The Plaintiff is a disabled individual within the meaning of the ADA.

76. The United States Supreme Court recognized the term “major life activities” includes

   walking. Bragdon v. Abbott, 524 U.S. 624, 638–39 (1998).

77. The major life activity that the constitutes the Plaintiff’s disability is his difficulty

   walking distances.

78. The Parking Facility does not have any marked valet-area passenger loading zones.

79. None of the Parking Facility’s two parking lanes that the Plaintiff or any customer must

   drive into have the required 60 (sixty) inch assess aisle.

80. The Parking Facility does not have a marked access aisle that is 60 (sixty) inches wide

   that is adjacent to the vehicle pull-up space.

81. Because of his disability, the Plaintiff opens his car door “all the way” to its fullest

   open position to facilitate an easier entrance/exit from his vehicle; the properly sized

   access aisle would allow Plaintiff to full open his car door without placing the car door

   at risk for being struck by another vehicle.

82. The Parking Facility does not have any handicap-accessible parking spaces at the

   Parking Facility.

83. The Parking Facility does not have any marked accessible routes.
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84. The Parking Facility’s failure to comply with the parking accessibility requirements of

   the ADA has created an accessibility barrier for the Plaintiff, and other similarly

   situated disabled individuals.

85. Defendant BJP is responsible for ensuring the Parking Facility’s compliance with the

   ADA.

86. Defendant Park is responsible for ensuring the Parking Facility’s compliance with the

   ADA.

87. The Defendants can remedy their non-compliance with the ADA’s parking

   requirements by creating a marked access aisles.

88. The Defendants can remedy their non-compliance with the ADA’s parking

   requirements by creating a marked vehicle pull-up spaces.

89. Compliance with the ADA’s parking requirements at the Parking Facility is readily

   achievable.

90. The Defendants’ failure to comply with the ADA has denied the Plaintiff the full and

   equal enjoyment of the parking offered by the Parking Facility.

91. The Defendants have discriminated against the Plaintiff by their failure to comply with

   the ADA.



WHEREFORE, Plaintiff, seeks to injunctive relief to require the Defendants to comply

with the Americans with Disabilities Act, together with costs and mandatory attorneys’

fees under as provided by 42 U.S.C. § 12005, and such other legal and equitable relief from

Defendants as the Court deems just and proper.
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Respectfully submitted,

By: FJR5566

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Dated: May 9, 2017
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                             CERTIFICATE OF SERVICE

I, Franklin J. Rooks Jr., certify that I served Plaintiff’s Complaint via the Court’s ECF

system.



By: FJR5566

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Dated: May 9, 2017
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                           EXHIBIT A
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                         EXHIBIT B
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                                     EXHIBIT C

(Source:https://www.access-board.gov/guidelines-and-standards/buildings-and-
sites/about-the-ada-standards/guide-to-the-ada-standards/chapter-5-parking#spaces)
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                                     EXHIBIT D



Source: https://www.access-board.gov/guidelines-and-standards/buildings-and-
sites/about-the-ada-standards/guide-to-the-ada-standards/chapter-5-passenger-loading-
zones
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                           EXHIBIT E
